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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                 CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                           §
     Plaintiff/Respondent,                          §
                                                    §
V.                                                  §           CR. No. C-03-159 (1)
                                                    §           C.A. No. C-04-541
JERRY MICHAEL WALTERS,                              §
     Defendant/Movant.                              §

                  ORDER DENYING MOTION FOR RECONSIDERATION

                                        I. BACKGROUND

       On October 25, 2004, Movant Jerry Michael Walters (“Walters”) filed a motion to vacate his

sentence pursuant to 28 U.S.C. § 2255. (D.E. 105).1 By Order entered March 8, 2005, the Court

denied the motion on the grounds that the claims he raised therein were barred by the waiver of § 2255

rights contained in Walters’ plea agreement. (D.E. 126). The Court also sua sponte denied him a

Certificate of Appealability (“COA”). (D.E. 126). Final judgment was entered on March 8, 2005.

(D.E. 127).

       On August 8, 2005, the Clerk received from Walters a motion requesting reconsideration of

the Court’s Order denying his § 2255 motion, and of the denial of his COA. (D.E. 135). The motion

was signed on August 4, 2005, and is deemed filed as of that date. In his motion, he claims that he was

in transit prior to the government’s filing of its response to his § 2255 motion and thus did not have

access to case law to file a reply. He further contends that the Court erred in denying him a COA and

that “he should be entitled to file his COA to the Fifth Circuit Court of Appeals in a timely manner.”

       For the reasons set forth herein, Walters’ motion is DENIED.



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               Docket entry references are to the criminal case, C-03-159(1).

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                                           II. ANALYSIS

A.       Characterization of Motion for Reconsideration

         Walters does not identify any rule pursuant to which he challenges the Court’s prior order.

Because it was filed more than ten days after entry of the judgment, Rule 59 of the Federal Rules of

Civil Procedure cannot be used as the basis for his motion. Fletcher v. Apfel, 210 F.3d 510, 511 (5th

Cir. 2000); Bass v. Department of Agriculture, 211 F.3d 959, 962 (5th Cir. 2000). Accordingly, the

Court construes Walters’ motion to reconsider as one brought under Rule 60(b), Fed. R. Civ. P.

Because he is also expressing a desire to appeal this Court’s denial of his § 2255 motion, the Court

construes the motion, in the alternative, as one seeking an extension of time to appeal.

B.       Rule 60(b) Standards

         On motion and upon such terms as are just, the court may relieve a party or a party's legal

representative from a final judgment, order or proceeding for the following reasons: (1) mistake,

inadvertence, surprise, or excusable neglect, (2) newly discovered evidence, (3) misconduct of

adverse party, (4) void judgment, (5) judgment satisfied, or (6) any other reason justifying relief from

the operation of the judgment. Fed. R. Civ. P. 60(b). Motions under Rule 60(b) are directed to the

sound discretion of the district court. Crutcher v. Aetna Life Ins. Co., 746 F.2d 1076, 1082 (5th Cir.

1984).

         Walters’ brief motion does not allege any facts that entitle him to relief under any of the

grounds listed in Rule 60(b). Accordingly, his motion to reconsider is DENIED.

C.       Motion for Extension of Time to Appeal

         As noted, judgment in Walters’ § 2255 proceedings was entered on March 8, 2005. He had

sixty days from that date to file his notice of appeal. Fed. R. App. P. 4(a)(1)(B); see also Rule 11,



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RULES GOVERNING SECTION 2255 PROCEEDINGS IN THE UNITED STATES DISTRICT COURTS (Fed. R.

App. P. 4(a) governs appeals in 2255 proceedings). Sixty days after March 8, 2005 was May 7, 2005.

Because May 7, 2005 was a Saturday, Walters had until May 9, 2005 to file his notice of appeal.

See Fed. R. App. P. 26(a)(3).)

       Walters failed to file anything with the Court during that period, and he offers no explanation

for his failure to do so. Indeed, the first document filed with the Court was filed on August 4, 2005,

nearly three months past the expiration of the appellate deadline. Particularly in light of his lack of

any explanation for his untimely filing, there is no basis in the record from which the Court could

conclude that he has shown “good cause” or “excusable neglect,” to warrant an extension of time to

appeal under Fed. R. App. P. 4(a)(5).

       Thus, to the extent his motion can be construed as a motion for extension of time to appeal, it

is likewise DENIED.

                                        III. CONCLUSION

       For the foregoing reasons, Walters’ motion (D.E. 135) is DENIED.


       Ordered this 25th day of August, 2005.



                                               ____________________________________
                                                          Janis Graham Jack
                                                      United States District Judge




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